Appellant's motion for rehearing is apparently predicated upon the assumption that an indictment charging the transportation of intoxicating liquor is not good unless it is averred that such transportation is for the purpose of sale. This is not the law. See Crowley v. State, 92 Tex.Crim. R.,242 S.W. 472; Harrison v. State, 95 Tex.Crim. R.,254 S.W. 975; Turner v. State, 95 Tex.Crim. R., 255 S.W. 439; Harper v. State, 257 S.W. 1102; Bailey v. State, 97 Tex.Crim. R.,260 S.W. 1057; Gandy v. State, 99 Tex.Crim. R.,268 S.W. 951; Brown v. State, 101 Tex.Crim. R., 276 S.W. 438.
The motion for rehearing is overruled.
Overruled. *Page 357 